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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA-- - - - - ~ - - - ,
                                                                                   ...,.&.,"'"'-_/l_'7_ D.C.
                                  CASE NO. 22-MJ-8332-BER
                                                                                 AUG 11 2022
  IN RE SEALED SEARCH WARRANT                               FILED

  ______ _ _ _ _ _                       /

                   NOTICE OF FILING OF REDACTED DOCUMENTS

         The United States hereby gives notice that it is filing the following document, which

  is a redacted version of material previously filed in this case number under seal:

     •   The search warrant (not including the affidavit) signed and approved by the Court on

         August 5, 2022, including Attachments A and B;

     •   The Property Receipt listing items seized pursuant to the search, filed with the Court

         on August 11 , 2022.




                                                             ANTO      O GONZALEZ
                                                                    TES ATTORNEY
                                                       orida Bar No. 897388
                                                     99 NE 4th Street, 8th Floor
                                                     Miami, Fl 33132
                                                     Tel: 305-961-9001
                                                     Email: juan.antonio .gonzalez@usdoj.gov




                                                                                                       /7
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AO 93 (Rev. 11/ 13) Search and Seizure Warrant




                                            UNITED STATES DISTRICT COURT
                                                                                for the
                                                               Sou them Disuict of F101ida

                   In the Matter of the Search of                                 )
              (Briefly describe the property to be searched                       )
               or identify the person by name and address)                        )       Case No.   22-mj-8332-BER
        the Premises Located at 1100 S. Ocean Blvd., Palm                         )
       Beach, FL 33480, as further described in Attachment A                      )
                                                                                  )

                                                  SEARCH AND SEIZURE WARRANT
To :      Any authorized law enforcement officer
         An application by a federal law enforcemenr officer or an attorney for the government requests the search
of the following person or property located in the          Southern            District of                Florida
(identify the p erson or describe the property to be searched and give its location):

       See Attachment A




        I find that the affidavit(s) or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
       See Attachment B




         YOU ARE COMMANDED to execute this wa1rnnt on or before                  August 19, 2022        (not to exceed 14 days)
       ~ in the daytime 6:00 a.m. to 10:00 p.m. D at any time in the day or night because good cause has been established.

        Unless delayed notice is authmized below, you must give a copy of the wanant and a receipt for the prope1ty taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where tl1e
property was taken.
        The officer executing this wanant, or an officer present during the execution of the wanant must prepare an invent01y
as required by law and promptly return this wanant and invento1y to                         Duty Magistrate
                                                                                                       (United States Magistrate Judge)

     D Pursuant to 18 U.S.C. § 3103a(b) I find that inlmediate notification may have an adverse result listed in 18 U.S .C.



                                    ::iA
§ 2705 (except for delay of tiial), and authorize the officer executing this wanant to delay notice to the person who, or whose


       D ~ys
          for _ _             /nm                   □ un~     :h~/:,:,:stilying ilie late~!~
prope1ty, will be searched or seized ,check the a•• ro. riate box)



Date and time issued:            cJ~                       /~-/,       P'/'2.             / ~                                         _
                                                                     r                    ~-'Judge'ssignat

City and state:              West Palm Beach , FL                                               Hon. Bruce Reinhart, U.S. Magistrate Judge
                                                                                                             Printed name and title
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                                        ATTACHMENT A

                                      Property to be searched

        The premises to be searched, 1100 S Ocean Blvd, Palm Beach, FL 33480, is further

described as a resort, club, and residence located near the intersection of Southern Blvd and S

Ocean Blvd. It is described as a mansion with approximately 58 bedrooms, 33 bathrooms, on a

17-acre estate. The locations to be searched include the "45 Office," all storage rooms, and all

other rooms or areas within the premises used or available to be used by FPOTUS and his staff

and in which boxes or documents could be stored, including all structures or buildings on the

estate. It does not include areas currently (i.e. , at the time of the search) being occupied, rented,

or used by third parties (such as Mar-a-Largo Members) and not otherwise used or available to be

used by FPOTUS and his staff, such as private guest suites.
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                                        ATTACHMENT B

                                        Property to be seized

       All physical documents and records constituting evidence, contraband, fruits of crime, or

other items illegally possessed in violation of 18 U.S.C. §§ 793 , 2071 , or 1519, including the

following:

               a. Any physical documents with classification markings, along with any

containers/boxes (including any other contents) in which such documents are located, as

well as any other containers/boxes that are collectively stored or found together with the

aforementioned documents and containers/boxes;

               b. Information, including communications in any form, regarding the

retrieval, storage, or transmission of national defense information or classified material ;

               c. Any government and/or Presidential Records created between January

20, 2017, and January 20, 2021; or

               d. Any evidence of the knowing alteration, destruction, or concealment of

any government and/or Presidential Records, or of any documents with classification

markings.
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                                UNITED STATES DEPARTMENT OF JUSTICE
                                      FEDERAL BUREAU OF INVESTIGATION

                             RECEIPT FOR PRBPERTY
Case ID:
           On (date)                   item(s) listed below were:
                       -8/8/2022
                          -- - - ----- 1:8] Collected/Seized
                                                  D   Received From
                                                  0   Returned To
                                                  D   Released To


(Name)       Mar-A-Lago
(Street Address)       1100 S OCEAN BLVD
(City)     PALM BEACH, FL 33480


Description of ltem(s}:
4 - Documents

29 - Box labeled A-14

30 - Box Labeled A-26

31 · Box Labeled A-43
32 - Box Labeled A-13

33 - Box Labeled A-33




 Received    By,    ~ 6b2                                Received From:
                               (signature)                                     (signature)


Printed Name/Title:        ~,(.,,            ~           Printed Name/Title:

                                   q~

                          lp',[q ~yv. ~      ~J}'>)--
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                                UNITED STATES DEPARTMENT OF JUSTICE
                                     FEDERAL BUREAU OF INVESTIGATION

                            RECEIPT F8R PROPERTY
CaselD:       WF-
          On (date)   8/8/2022                      item(s) listed below were:
                      ----------                    [8l Collected/Seized
                                                    O   Received From
                                                    0   Returned To
                                                    D   Released To


(Name)       Mar-A-Lago
(Street Address)      1100 S OCEAN BLVD
{City)    PALM BEACH, FL 33480


Description of ltem(s):
1 - Executive Grant of Clemency re: Rog~r Jason Stone, Jr.

lA - Info re : President of France

2 - Leatherbound box of doqJ_ments

2A - Various classified/TS/SCI documents

3 - Potential Presidential Record

5 - Binder of photos

6 - Binder of photos

7 - Handwritten note

8 - Box labeled A-1

9 - Box labeled A-12

10 - Box Labeled A-15

lOA - Miscellaneous Secret Documents

11 - Box Labeled A-16

11A - Miscellanous Top Secret Documents

12 - Box labeled A-17

13 - Box labeled A-18

13A - M iscellaneous Top Secret Documents

14 - Box labeled A-27

14-A - Miscellaneous Confidential Documents
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                               UNITED STATES DEPARTMENT OF JUSTICE
                                     FEDERAL BUREAU OF INVESTIGATION

                            RECEIPT FOR PROPERTY
15 - Box Labeled A-28

15A- Miscellaneous Secret Documents

16 - Box labeled A-30

17 - Box labeled A-32

18 - Box labeled A-35
19 - Box labeled A-23

19A - Confidential Document

20 - Box Labeled A-22

21 - Box labeled A-24
22 - Box Labeled A-34

23 - Box Labeled A-39

23A - Miscellaneous Secret Documents

24 - Box labeled A-40

25 - Box Labeled A-41

25A - Miscellaneous Confidential Documents

26 - Box Labeled A-42

26A - Miscellaneous Top Secret Documents

27 - Box Labeled A-71

28 - Box Labeled A-73

28A - Miscellaneous Top




 ReceivedBy:       ~~                                 Received From:
                              (5ignature)


Printed Name/Title:       Ol1nJh'r1tt       cg,/(Jh   Printed Name/Title

                                  fflrntj
               ~ :11P"" 61/\~i / ;:}')__
